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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

In re:                                               )        Chapter 11
                                                     )
USA GYMNASTICS',                                     )        Case No. 18-09108-RLM-11
                                                     )
                          Debtor.                    )
----------)


         OBJECTION OF INDIANA ATTORNEY GENERAL CURTIS T. HILL TO
        DEBTOR'S SUPPLEMENT TO FIRST DAY MOTION FOR AN ORDER (I)
    AUTHORIZING THE DEBTOR TO PAY AND HONOR CERTAIN PRE-PETITION
       WAGES, BENFITS, AND OTHER COMPENSATION OBLIGATIONS; AND
     (II) AUTHORIZING FINANCIAL INSTITUTIONS TO HONOR AND PROCESS
           CHECKS AND TRANSFERS RELATED TO SUCH OBLIGATIONS2

         Curtis T. Hill, Jr., Attorney General of Indiana, objects to the Debtor's Supplement to

First Day Motion for an Order (I) Authorizing the Debtor to Pay and Honor Certain Pre-Petition

Wages, Benefits, and Other Compensation Obligations; and (II) Authorizing Financial

Institutions to Honor and Process Checks and Transfers Related to Such Obligations (the

"Supplemental Motion") and states in support of his objection:

                                              INTRODUCTION

         1.       Curtis T. Hill, Jr., the Attorney General of the State of Indiana, (the "Attorney

General") is charged with protecting the public interest in charitable and benevolent

instrumentalities and to ensure the integrity of nonprofit entities operating within the State of

Indiana. Ind. Code $$ 23-17-24-1 and 23-17-24-1.5. Zoeller v. East Chicago Second Century,

904 N.E.2d 213 (Ind. 2009).

1
  The last four digits of the Debtor's federal tax identification number are 7871. The location of the Debtor's
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
2
  After reviewing the Supplemental Motion (as defined below) and the Survivor's Objection (also as defined below),
counsel for the Attorney General contacted counsel for the Debtor to discuss the issues raised by both pleadings and
was informally granted an extension of the objection deadline to Monday, January 14, 2019. Therefore, this
objection is timely.
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       2.      USA Gymnastics ("USAG") is a nonprofit corporation with a principal office

located in Indianapolis, Indiana.

       3.      USAG filed a voluntary petition for relief under Chapter 11 of the United States

Bankruptcy Code, 11 U.S.C. §§ 101 et. seq. (the Code") on December 5, 2018 (the "Petition

Date"). USAG continues to operate its business as a debtor-in-possession pursuant to Sections

1107 and 1108 of the Code.

                                         BACKGROUND
       4.      Over the past several years, USAG has become the subject of one of the most

horrific and extensive scandals in sports history.

       5.      On November 4, 2016, USAG engaged Deborah Daniels, a partner at

Indianapolis-based Krieg DeVault LLP and former federal prosecutor, to conduct an independent

review of USAG's bylaws, policies, procedures, and practices related to handling sexual

misconduct matters.

        6.     The review was sought in the wake of the exposure of nearly three decades of

sexual abuse perpetrated by Dr. Larry Nassar, USAG's National Medical Coordinator and

Women's National Team Physician. Additionally, a terrifying number of reports had begun to

surface of young women being abused by persons affiliated with USAG as members or

contractors along with additional charges that USAG had not been sufficiently responsive in

disciplining offenders and terminating their access to young gymnasts.

        7.     Another event which contributed to the commission of the Daniels review was a

 series of articles published by The Indianapolis Star beginning in the summer of 2016 with a

primary focus on sexual abuse in women's gymnastics and the myriad cases of alleged abuse.




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       8.      Daniels produced her Report to USA Gymnastics on Proposed Policy and

Procedural Changes for the Protection of Young Athletes on or about June 26, 2017 (the

"Daniels Report"). A copy of the Daniels report is available on USA G's website at:

https://usagym.org/PDFs/About%20USA %20Gymn astics/ddreport 062617 .pdf              (last    visited

January 10, 2019).

       9.      The Daniels Report contained approximately 70 recomm endations for improving

the culture at USAG and promoting the safety of the athletes who compete within the sport of

gymn astics.

        10.    In the eighteen months since the publication of the Daniels Report, USAG has

failed to fully implement the recomm endations. By USAG' s admission on its website, less than

50% of the recomm endations have been implemented with others listed as "in progress,"

"ongoing," or "plann ing." See:

http://www.usagymprogressreport.com/recommendations (last visited January 10, 2019).

        11.    The Daniels Report noted that then current USAG standards directed a party who

suspected child abuse to consult with counsel because legal reporting requirements varied by

state. (Daniels Report, p. 74) Notwithstanding this reality, the Daniels Report stated "It is best

for all members to understand that because of their position of trust and authority with athletes,

they should immediately report all suspicions or incidents of abuse regardless of whether they

are required under their state's laws to report." Id. (emphasis added).

        12.    Despite this guidance from a former prosecutor, USAG's current policy states that

"USA Gymnastics will report suspected child abuse or neglect (including Sexual Misconduct)

within 24 hours to the proper authorities in all instances and without exception, unless it is aware




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that authorities have already been notified." See USA Gymnastics Progress Report found at:

http://www.usagymprogressreport.com/recommendation/54/ (last visited January 10, 2019).

         13.     Daniels was correct in stating that reporting requirements vary by state. In fact,

Indiana requires immediate reporting of suspected child abuse. See Ind. Code 31-33-5-2. The

Indiana Supreme Court has determined that a delay of four hours in reporting suspected abuse

was not "immediate" within the meaning of Indiana law. Smith v. State, 8 N.E.3d 668 (Ind.

2014).

         14.     The United States Olympic Committee also commissioned an inquiry by the law

firm of Ropes and Gray which was made public in December of 2018 and which details the

factors that allowed Nassar to abuse the young athletes who were part of the gymnastics

community. See Joan McPhee & James P. Dowden, Ropes & Gray, Report of the Independent

Investigation:    The Constellation of Factors Underlying Larry Nassar's Abuse of Athletes

(December 10, 2018) (the "Ropes & Gray Report"). A copy of the Ropes & Gray Report was

attached to the Objection of the Additional Tort Claimants Committee of Sexual Abuse

Survivors to Debtor's First Day Motion for an Order (I) Authorizing the Debtor to Pay and

Honor Certain Pre-Petition Wages, Benefits, and Other Compensation Obligations; and (II)

Authorizing Financial Institutions to Honor and Process Checks and Transfers Related to Such

Obligations and the Supplement Thereto (the "Survivors' Objection") [Doc. 140] as Exhibit A.

The Ropes & Gray is also publicly available online.

                                          THE BONUSES

         15.     The Attorney General acknowledges that the amount at issue is modest in the

scope of this case; this case is not simply about money. This case is as much, if not more so,

about a cultural reorganization of USAG as it is about reforming USAG's finances. In that




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regard, $88,000 is extremely meaningful in light of the services that it could provide and the

education that it could provide to USAG members.

        16.    The Attorney General's objection stems from the fact, that notwithstanding

Indiana's legal requirements for the reporting of child abuse, USAG continues to adhere to a

policy that violates Indiana law, ignores the recomm endations from Deborah Daniels, and fails to

effectuate the cultural changes needed at USAG. For example, at least one of the individuals

listed in the Supplemental Motion is an Indiana attorney who should be extremely familiar with

the requirements imposed by Indiana law.

        17.    At the December 20, 2018 hearing, counsel for the Debtor stated on the record

that the Debtor was prepared to comply with "the law" regarding the reporting of child abuse.

The Attorney General asserts that "the law" regarding the reporting of child abuse requires

compliance with Indiana's stringent requirements, given that USAG is operating within this

state. By the Debtor's own admission, this is not happening.

        18.    As already discussed, Indiana law requires anyone with a suspicion of child abuse

or neglect to make an imm ediate report. USAG's current policies, as reflected on their website,

do not require it nor do they acknowledge that the reporting requirement applies regardless of

whether someone else has made a report. Compliance is not optional. It is mandatory. It is

essential.

        19.    The Attorney General agrees with the Survivors' Objection that the originally

filed Wage Motion (as defined in the Supplemental Motion) did not provide notice that a bonus

program was in effect. Additionally, the Supplemental Motion does not provide a detailed

description of the basis for determining which employees are eligible for bonuses or if the bonus

program is available to all USAG employees. While the bankruptcy process is not intended to




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micromanage a debtor's operations, all parties in interest are entitled to sufficient information to

demonstrate that a debtor's operations are being properly managed.

       20.     The allegations presented in the Survivors Objection are troubling and of great

concern to the Attorney General and should be considered by the Court.

       21.     This case should not be viewed as a "typical" bankru ptcy case. USAG and every

one of its employees must be comm itted to the cultural changed necessary to effectuate USAG' s

mission of protecting and supporting young athletes. Bonuses should no longer be expected.

They should be incentives for dedication to and fulfillment of the mission.

       22.     Accordingly, it is the position of the Attorney General that 1) those who have

contributed to the ongoing failures at USAG should not receive bonuses, 2) those who have not

followed Indiana law regarding the reporting of child abuse should not receive bonuses, 3) those

who have not utilized their position and authority to effectuate cultural change should not receive

bonuses, 4) those who have the authority and duty to update and communicate a child abuse

reporting policy that complies with Indiana law but have failed to do so should not receive

bonuses, and 5) those who have not or are unable to place athlete safety above all else in the

course of their duties at USAG do not deserve bonuses.




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                                        CONCLUSION

       WHEREFORE, Attorney General Curtis T. Hill, Jr. respectfully objects to the relief

requested in the Supplemental Motion.

Dated: January 14, 2019                     Respectfully submitted,

                                            /s/ Martha R. Lehman
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 14 day of January, 2019, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing to all parties who have filed an appearance. Copies of this pleading may be accessed
through the Court's electronic filing system.


                                                    /s/ Martha R. Lehman
                                                    Martha R. Lehman




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